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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
VS. Case No. 22-CR-115-CVE

NICOLE COX,

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Defendant.

WAIVER OF RIGHT TO SPEEDY TRIAL

Nicole Cox, the Defendant in the above-captioned matter states as follows:

1. My attorney has explained to me under the Sixth Amendment of the
United States Constitution and under the Speedy Trial Act provides I
must be brought to trial within 70 days of my arraignment;

2. I understand a jury trial is scheduled July 11, 2022,

3. Iam requesting the Court to Continue my case for at least 120 days. [am
agreeing to the resetting of my case for trial due to the following: I
appeared for arraignment in this case on May 26, 2022. Counsel Michael
Noland received notice that the Court has set a scheduling order setting
Motions to be due in this case on June 3, 2022. Counsel has been advised
by Assistant United States Attorney that the discovery in this matter is

voluminous. Based on the anticipated amount of discovery in this case
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Counsel would not be able to effectively file Pre-Trial Motions, nor

prepare for trial in the time set out in the Courts scheduling order.

4. I have read this waiver and I understand my right to a speedy trial and I

am giving up that right by signing this paper. I understand the period of

delay caused by the granting of the continuance will not be used in

computing the seventy (70) day time limit for trial prescribed in the

Speedy Trial Act;

5. Iam signing this waiver voluntarily and of my own choice, free of threats

or pressures from anyone.

Respectfully submitted,

we 5-Z0-gA

NICOLE COX Date
Defendant
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A
TAX 5-30 Ce.
Michael Tet NCand Date

Bar Number: 21768

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Telephone: (405) 225-1311

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nolanddefensefirm@yahoo.com

Certificate of Service

I hereby certify that on .4© day of May 2022 1, I electronically transmitted
the above document to the Clerk of the Court using the ECF system for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrant: David

Nassar, Assistant United States Attorney.

s/ Michael W. Noland

